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                      THE UNITED STATES DISTRICT COURT
10                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     Sergey Grishin, an individual,       CV 18-10179 DSF (AGRx)
12
                  Plaintiff,
13                                        Judgment and Order of Dismissal

14         v.

15   Jennifer Sulkess, an individual,
     and Does 1–10,
16
17                Defendants.

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1          In accordance with the Court’s Order Granting Motion to Enforce Settlement
2    Agreement (Dkt. No. 89) and consistent with the terms of the parties’ agreement, the
3    Court enters final judgment in this action between Plaintiff Sergey Grishin and
4    Defendant Jennifer Sulkess. Pursuant to this Final Judgment, IT IS ORDERED,
5    ADJUDGED, AND DECREED THAT:
6          1. Plaintiff’s claims for copyright infringement under Count 1, dismissed
7             without prejudice sua sponte by the Court on May 31, 2019, are severed
8             from the other causes of action, and may be re-filed at a later date (subject
9             to any applicable statutes of limitation) without regard to final resolution of
10            Plaintiff’s defamation claims under Counts 2 and 3;
11         2. Plaintiff’s claim for public disclosure of private facts under Count 4 and
12            related injunctive relief under Count 5 are severed from the other causes of
13            action, dismissed without prejudice, and may be re-filed at a later date
14            (subject to any applicable statutes of limitation) without regard to final
15            resolution of Plaintiff’s defamation claims under Counts 2 and 3;
16         3. Consistent with the terms of the parties’ agreement, the Court expressly
17            reserves Plaintiff Grishin’s right to maintain his claims for copyright
18            infringement and public disclosure of public facts claims in later filed
19            actions without the principles of res judicata applying to preclude such
20            actions;
21         4. Each party shall pay his or her own costs and attorneys’ fees with respect to
22            the disposition of Plaintiff’s claims under Counts 1, 4, and 5;
23         5. Judgment is entered against Plaintiff on his defamation claims under Counts
24            2 and 3 and Plaintiff shall take nothing by way of those claims;
25         6. In light of the parties’ agreement to seek an immediate appeal of the
26            judgement against Plaintiff on his defamation claims, the Court finds that
27            there is no just reason to delay such an appeal, because the need for
28            appellate review will not be mooted by developments in the District Court;
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1            and the issues to be decided in such an appeal are unique and unrelated to
2            the severed Counts 1, 4 and 5;
3         7. Consistent with the parties’ agreement, Plaintiff is ordered to post a bond of
4            $85,000 in conjunction with the appeal;
5         8. Without affecting the finality of the Court’s judgment in any way, the Court
6            retains jurisdiction over this matter for purposes of resolving issues relating
7            to the interpretation, administration, implementation, effectuation, and
8            enforcement of the parties’ agreement.
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10        IT IS SO ORDERED.
11   DATED: April 21, 2020
12                                         Honorable Dale S. Fischer
                                           UNITED STATES DISTRICT JUDGE
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